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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )         4:10CR3009
                                                )
                     Plaintiff,                 )
                                                )
       vs.                                      )
                                                )         ORDER
KATHRYN SNOOZY,                                 )
                                                )
                     Defendant.                 )


       IT IS ORDERED that:

       (1)    The defendant’s unopposed motion to continue sentencing (filing 52) is
granted.

       (2)    Defendant Kathryn Snoozy’s sentencing is continued to Friday, December 2,
2011, at 12:30 p.m., before the undersigned United States district judge, in Courtroom No. 1,
United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

       Dated August 2, 2011.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
